        Case 1:11-cr-00037-JD    Document 40    Filed 10/21/11   Page 1 of 1




                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                               Criminal No. 11-cr-37-02-JD

Gary Loranger

                                   O R D E R


      The assented to motion to reschedule jury trial (document no.

39) filed by defendant Gary Loranger, with the assent of all

co-defendants, is granted; the continuance is limited to 60 days.

Trial is continued as to all defendants to the two-week period

beginning January 18, 2012, 9:30 AM.

      Defendant Gary Loranger shall file a waiver of speedy trial

rights within 10 days.          The court finds that the ends of justice

served by granting a continuance outweigh the best interest of the

public    and    the   defendant    in   a     speedy   trial,    18    U.S.C.   '

3161(h)(7)(B)(iv), for the reasons set forth in the motion.

      SO ORDERED.

                                             /s/ Joseph A. DiClerico, Jr.
                                             Joseph A. DiClerico, Jr.
                                             United States District Judge

Date:    October 21, 2011

cc:   Charles Keefe, Esq.
      Jonathan Saxe, Esq.
      Bruce Kenna, Esq.
      Theodore Lothstein, Esq.
      Debra Walsh, Esq.
      U.S. Marshal
      U.S. Probation
